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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP,

                              Plaintiff,

          v.
                                                      Case No. 19-cv-2173 (CJN)
 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES, et al.,

                              Defendants.


                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants the Committee on Ways and Means of the

United States House of Representatives; Richard Neal, in his official capacity as Chairman of the

House Ways and Means Committee; and Andrew Grossman, in his official capacity as Chief Tax

Counsel of the House Ways and Means Committee, hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s November 18, 2019 Order, ECF

No. 52, as well as its November 18, 2019 Memorandum Opinion, ECF No. 51.

                                            Respectfully submitted,

                                            /s/ Douglas N. Letter
                                            Douglas N. Letter (DC Bar No. 253492)
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                                            Todd B. Tatelman (VA Bar No. 66008)
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        Case 1:19-cv-02173-CJN Document 53 Filed 12/17/19 Page 2 of 2



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December 17, 2019




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